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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                WESTERN DIVISION

 STATE OF NORTH DAKOTA, et al.,
                                                    No. 1:24-cv-124-DMT-CRH
        Plaintiffs,
                                                    Hon. Daniel M. Traynor
        v.
                                                    JOINT STATUS REPORT
 UNITED STATES DEPARTMENT OF
 INTERIOR, et al.,

        Defendants,

 BADLANDS CONSERVATION
 ALLIANCE, et al.,

        Defendant-Intervenors,

 and

 CONSERVATION LANDS FOUNDATION,
 et al.,

        Defendant-Intervenors.



       Defendants U.S. Department of the Interior et al., Plaintiffs State of North Dakota et al.,

Defendant-Intervenors Badlands Conservation Alliance et al., and Defendant-Intervenors

Conservation Lands Foundation et al. respectfully submit this joint status report in response to

the Court’s April 7, 2025 Order continuing the stay of this case, ECF No. 54. Federal

Defendants request that the stay be extended by an additional sixty days to allow new

administration officials to continue to evaluate the litigation and determine how they wish to

proceed. No party opposes this request.

       This case challenges the Conservation and Landscape Health Rule, 89 Fed. Reg. 40,308

(May 9, 2024) (“Public Lands Rule”). Plaintiffs allege that the U.S. Bureau of Land

Management (“BLM”) violated the Federal Land Policy and Management Act, Administrative



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Procedure Act, National Environmental Policy Act, Congressional Review Act, and Mineral

Leasing Act in promulgating the rule. See Compl., ECF No. 1. At Federal Defendants’ request,

summary judgment briefing has been stayed. See Order Granting Stay Motion, ECF No. 52.

       Courts have broad discretion to stay proceedings and to defer judicial review in the

interest of justice and efficiency. “[T]he power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with economy of

time and effort for itself, for counsel, and for litigants.” Air Line Pilots Ass’n v. Miller, 523 U.S.

866, 879 n.6 (1998) (quoting Landis v. North Am. Co., 299 U.S. 248, 254 (1936)); see also

CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962); Am. Petroleum Inst. v. EPA, 683 F.3d 382,

388 (D.C. Cir. 2012) (premature and unnecessary judicial review “would hardly be sound

stewardship of judicial resources”).

       Federal Defendants report that due to the recent change in administration on January 20,

2025, there is new leadership at the Department of the Interior. Those new officials are in the

process of familiarizing themselves with the Public Lands Rule and the litigation regarding the

rule. In addition, Secretary’s Order 3418 directs Department of the Interior staff to review

certain previously issued rules, including the Public Lands Rule, and take steps, as appropriate,

to suspend, revise, or rescind such rules. See Secretary’s Order No. 3418 § 4.b., available at:

https://www.doi.gov/document-library/secretary-order/so-3418-unleashing-american-energy (last

visited Mar. 20, 2025). Since the submission of the last status report, the Department of the

Interior has submitted a proposed rule entitled Rescission of Conservation and Landscape Health

Rule to the Office of Information and Regulatory Affairs. See

https://www.reginfo.gov/public/do/eoDetails?rrid=907019 (last visited June 4, 2025). To allow

further time for the Department of the Interior to continue that review process, the government



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respectfully requests that the Court stay these proceedings for an additional sixty days. At the

end of the sixty day period, the parties will file another status report indicating how the parties

intend to proceed.

       Respectfully submitted this 6th day of June 2025.

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